                    Case 09-73643                           Doc 1          Filed 08/27/09 Entered 08/27/09 10:51:52                                                   Desc Main           8/27/09 10:43AM

B1 (Official Form 1)(1/08)
                                                                             Document     Page 1 of 51
                                              United States Bankruptcy Court
                                                          Northern District of Illinois                                                                           Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                Name of Joint Debtor (Spouse) (Last, First, Middle):
  Wright, David Lorenzo                                                                                       Wright, Julie Ann


All Other Names used by the Debtor in the last 8 years                                                     All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                (include married, maiden, and trade names):
                                                                                                              FKA Julie Bashaw



Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                              (if more than one, state all)
  xxx-xx-0750                                                                                                 xxx-xx-1058
Street Address of Debtor (No. and Street, City, and State):                                                Street Address of Joint Debtor (No. and Street, City, and State):
  221 W Locust ST                                                                                             221 W Locust ST
  Lanark, IL                                                                                                  Lanark, IL
                                                                                          ZIP Code                                                                                      ZIP Code
                                                                                        61046                                                                                        61046
County of Residence or of the Principal Place of Business:                                                 County of Residence or of the Principal Place of Business:
  Carroll                                                                                                     Carroll
Mailing Address of Debtor (if different from street address):                                              Mailing Address of Joint Debtor (if different from street address):


                                                                                          ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                          Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                        (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                                 Health Care Business                                  Chapter 7
                                                                   Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                                Chapter 11
                                                                   Railroad
                                                                                                                         Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                         Chapter 13                       of a Foreign Nonmain Proceeding
                                                                   Commodity Broker
    Partnership
                                                                   Clearing Bank
    Other (If debtor is not one of the above entities,             Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                   (Check one box)
                                                                           Tax-Exempt Entity
                                                                          (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                   Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                   under Title 26 of the United States                   "incurred by an individual primarily for
                                                                   Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                                Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                           Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                                  to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                           Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                                A plan is being filed with this petition.
                                                                                                                  Acceptances of the plan were solicited prepetition from one or more
                                                                                                                  classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                 THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-          1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999           5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1         to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million       million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1         to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million       million      million        million       million
                  Case 09-73643                 Doc 1          Filed 08/27/09 Entered 08/27/09 10:51:52                                       Desc Main                8/27/09 10:43AM

B1 (Official Form 1)(1/08)
                                                                 Document     Page 2 of 51                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Wright, David Lorenzo
(This page must be completed and filed in every case)                                   Wright, Julie Ann
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Conrad Knuth                                      August 27, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Conrad Knuth

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)
                                                                  Document     Page 3 of 51                                                                             Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Wright, David Lorenzo
(This page must be completed and filed in every case)                                       Wright, Julie Ann
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ David Lorenzo Wright                                                             X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor David Lorenzo Wright

 X    /s/ Julie Ann Wright                                                                     Printed Name of Foreign Representative
     Signature of Joint Debtor Julie Ann Wright
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     August 27, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Conrad Knuth
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Conrad Knuth 01495291                                                                    debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Conrad Knuth
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      P.O. Box 406
      Ohio, IL 61349-0406                                                                      Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)


      (815) 376 4082
     Telephone Number
     August 27, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D(Official Form 1, Exhibit D) (12/08)
                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             David Lorenzo Wright
  In re      Julie Ann Wright                                                                              Case No.
                                                                                        Debtor(s)          Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 15 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                               /s/ David Lorenzo Wright
                                                    David Lorenzo Wright
 Date:         August 27, 2009




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B 1D(Official Form 1, Exhibit D) (12/08)
                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             David Lorenzo Wright
  In re      Julie Ann Wright                                                                              Case No.
                                                                                        Debtor(s)          Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 15 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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                    Case 09-73643                         Doc 1             Filed 08/27/09 Entered 08/27/09 10:51:52   Desc Main      8/27/09 10:43AM

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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
       deficiency so as to be incapable of realizing and making rational decisions with respect to financial
       responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                               /s/ Julie Ann Wright
                                                    Julie Ann Wright
 Date:         August 27, 2009




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                                                                           Document     Page 8 of 51
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                            Northern District of Illinois
  In re          David Lorenzo Wright,                                                                                 Case No.
                 Julie Ann Wright
                                                                                                                ,
                                                                                               Debtors                 Chapter                 7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                 LIABILITIES           OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                         0.00


B - Personal Property                                             Yes                 4                  17,378.00


C - Property Claimed as Exempt                                    Yes                 2


D - Creditors Holding Secured Claims                              Yes                 1                                            4,650.00


E - Creditors Holding Unsecured                                   Yes                 3                                           28,436.79
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 6                                           65,637.72
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                 2,755.46
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                 2,995.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            22


                                                                                Total Assets             17,378.00


                                                                                                 Total Liabilities                98,724.51




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                                                                           Document     Page 9 of 51
Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                            Northern District of Illinois
  In re           David Lorenzo Wright,                                                                                  Case No.
                  Julie Ann Wright
                                                                                                              ,
                                                                                           Debtors                       Chapter             7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                      Amount

              Domestic Support Obligations (from Schedule E)                                                  18,000.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                              10,436.79

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                      0.00

              Student Loan Obligations (from Schedule F)                                                              0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                      0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                      0.00

                                                                                  TOTAL                       28,436.79


              State the following:

              Average Income (from Schedule I, Line 16)                                                           2,755.46

              Average Expenses (from Schedule J, Line 18)                                                         2,995.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                            2,673.97


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                        625.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                  9,748.76

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                        688.03

              4. Total from Schedule F                                                                                                65,637.72

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                            66,950.75




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  In re          David Lorenzo Wright,                                                                           Case No.
                 Julie Ann Wright
                                                                                                        ,
                                                                                          Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption




                         None




                                                                                                        Sub-Total >               0.00          (Total of this page)

                                                                                                             Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                        (Report also on Summary of Schedules)
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  In re          David Lorenzo Wright,                                                                                  Case No.
                 Julie Ann Wright
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      joint debtor's approx. balance personal checking                  W                           200.00
       accounts, certificates of deposit, or                     account no. XXXXXX X X1109 at Milledgeville State
       shares in banks, savings and loan,                        Bank, IL
       thrift, building and loan, and
       homestead associations, or credit                         joint debtor's bank account no. ##2759 located at                 W                            10.00
       unions, brokerage houses, or                              Exchange State Bank; Lanark, IL
       cooperatives.

3.     Security deposits with public                             debtors' security deposit held by Don Hart,                       J                           400.00
       utilities, telephone companies,                           Landlord
       landlords, and others.

4.     Household goods and furnishings,                          debtors' household goods and furnishings,                         J                        1,500.00
       including audio, video, and                               appliances, and electronics, kitchenware,
       computer equipment.                                       housewares, utensils, china, and linens, dryer, 2
                                                                 freezers, microwave, 3 TV's, VCR, DVD player,
                                                                 stereo, and P.C. and washing machine

5.     Books, pictures and other art                             family pictures                                                   J                              5.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and                           some paperbacks                                                   J                              3.00
       other collections or collectibles.

6.     Wearing apparel.                                          debtor's clothing, outerwear, shoes, boots, and                   H                           450.00
                                                                 other wearing apparel

                                                                 joint debtor's clothing, outerwear, shoes, boots,                 W                           450.00
                                                                 and other wearing apparel

7.     Furs and jewelry.                                         debtor's wedding ring                                             H                            20.00

                                                                 joint debtor's wedding ring                                       W                            40.00

                                                                 joint debtor's costume jewelry                                    J                            15.00

8.     Firearms and sports, photographic,                        debtor's shotgun                                                  H                            10.00
       and other hobby equipment.
                                                                 debtor's black powder rifle                                       H                            50.00


                                                                                                                                   Sub-Total >            3,153.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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  In re          David Lorenzo Wright,                                                                                  Case No.
                 Julie Ann Wright
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption
                                                                 digital camera                                                    J                            15.00

                                                                 camcorder                                                         J                            50.00

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                           joint debtor's right to receive delinquent child                  W                        5,700.00
    property settlements to which the                            support of $95.00/wk. for 60 wk.
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.




                                                                                                                                   Sub-Total >            5,765.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          David Lorenzo Wright,                                                                                  Case No.
                 Julie Ann Wright
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                              Debtor's CDL                                                      H                              0.00
    general intangibles. Give
    particulars.                                                 joint debtor's valid Illinois driver's license                    W                              0.00

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           joint debtor's '97 Dodge Caravan displaying                       W                        3,425.00
    other vehicles and accessories.                              106,000 mi. on its odometer with clear title

                                                                 '99 Mazda 626 ES subject to lien                                  H                        4,025.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X


                                                                                                                                   Sub-Total >            7,450.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          David Lorenzo Wright,                                                                                    Case No.
                 Julie Ann Wright
                                                                                                              ,
                                                                                             Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                    (Continuation Sheet)

                                                             N                                                                   Husband,        Current Value of
                 Type of Property                            O                    Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                    Joint, or   without Deducting any
                                                             E                                                                  Community Secured Claim or Exemption

31. Animals.                                                     fish in a tank                                                       J                             5.00

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                          debtor's accrued week's wages of $384.00/wk from                     H                          384.00
    not already listed. Itemize.                                 Dura Automotive Systems INC; 2791 Research DR;
                                                                 Rochester Hills MI 48309

                                                                 joint debtor's accrued week's wages from Rolling                     J                          286.00
                                                                 Hills Progress Center; 201 IL RTE 64; Pob 85;
                                                                 Lanark, IL 61046 of $286.00/wk.

                                                                 debtor's prescription eyewear                                        H                          100.00

                                                                 joint debtor's prescription eyewear                                  W                          100.00

                                                                 prescriptions                                                        J                          135.00




                                                                                                                                     Sub-Total >            1,010.00
                                                                                                                         (Total of this page)
                                                                                                                                          Total >         17,378.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                                 (Report also on Summary of Schedules)
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   In re          David Lorenzo Wright,                                                                                  Case No.
                  Julie Ann Wright
                                                                                                                ,
                                                                                              Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                      Specify Law Providing                    Value of            Current Value of
                    Description of Property                                              Each Exemption                        Claimed             Property Without
                                                                                                                              Exemption          Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
joint debtor's approx. balance personal           735 ILCS 5/12-1001(b)                                                               200.00                     200.00
checking account no. XXXXXX X X1109 at
Milledgeville State Bank, IL

joint debtor's bank account no. ##2759 located                                   735 ILCS 5/12-1001(b)                                 10.00                      10.00
at Exchange State Bank; Lanark, IL

Security Deposits with Utilities, Landlords, and Others
debtors' security deposit held by Don Hart,          735 ILCS 5/12-1001(b)                                                            400.00                     400.00
Landlord                                             735 ILCS 5/12-901                                                                  0.00

Household Goods and Furnishings
debtors' household goods and furnishings,                                        735 ILCS 5/12-1001(b)                              1,500.00                  1,500.00
appliances, and electronics, kitchenware,
housewares, utensils, china, and linens, dryer,
2 freezers, microwave, 3 TV's, VCR, DVD player,
stereo, and P.C. and washing machine

Books, Pictures and Other Art Objects; Collectibles
family pictures                                     735 ILCS 5/12-1001(a)                                                                 5.00                      5.00

some paperbacks                                                                  735 ILCS 5/12-1001(b)                                    3.00                      3.00

Wearing Apparel
debtor's clothing, outerwear, shoes, boots, and                                  735 ILCS 5/12-1001(a)                                450.00                     450.00
other wearing apparel

joint debtor's clothing, outerwear, shoes,                                       735 ILCS 5/12-1001(a)                                450.00                     450.00
boots, and other wearing apparel

Furs and Jewelry
debtor's wedding ring                                                            735 ILCS 5/12-1001(b)                                 20.00                      20.00

joint debtor's wedding ring                                                      735 ILCS 5/12-1001(b)                                 40.00                      40.00

joint debtor's costume jewelry                                                   735 ILCS 5/12-1001(b)                                 15.00                      15.00

Firearms and Sports, Photographic and Other Hobby Equipment
debtor's shotgun                                735 ILCS 5/12-1001(b)                                                                  10.00                      10.00

debtor's black powder rifle                                                      735 ILCS 5/12-1001(b)                                 50.00                      50.00

digital camera                                                                   735 ILCS 5/12-1001(b)                                 15.00                      15.00

camcorder                                                                        735 ILCS 5/12-1001(b)                                 50.00                      50.00

Alimony, Maintenance, Support, and Property Settlements
joint debtor's right to receive delinquent child  735 ILCS 5/12-1001(g)(4)                                                          5,700.00                  5,700.00
support of $95.00/wk. for 60 wk.


    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          David Lorenzo Wright,                                                                           Case No.
                  Julie Ann Wright
                                                                                                              ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                      (Continuation Sheet)

                                                                                      Specify Law Providing           Value of            Current Value of
                    Description of Property                                              Each Exemption               Claimed             Property Without
                                                                                                                     Exemption          Deducting Exemption

Automobiles, Trucks, Trailers, and Other Vehicles
joint debtor's '97 Dodge Caravan displaying                                      735 ILCS 5/12-1001(c)                       2,400.00               3,425.00
106,000 mi. on its odometer with clear title                                     735 ILCS 5/12-1001(b)                       1,025.00

Animals
fish in a tank                                                                   735 ILCS 5/12-1001(b)                           5.00                     5.00

Other Personal Property of Any Kind Not Already Listed
debtor's accrued week's wages of $384.00/wk       735 ILCS 5/12-803, 740 ILCS 170/4                                           326.40                   384.00
from Dura Automotive Systems INC; 2791
Research DR; Rochester Hills MI 48309

joint debtor's accrued week's wages from                                         820 ILCS 405/1300                            243.10                   286.00
Rolling Hills Progress Center; 201 IL RTE 64;
Pob 85; Lanark, IL 61046 of $286.00/wk.

debtor's prescription eyewear                                                    735 ILCS 5/12-1001(e)                        100.00                   100.00

joint debtor's prescription eyewear                                              735 ILCS 5/12-1001(e)                        100.00                   100.00

prescriptions                                                                    735 ILCS 5/12-1001(e)                        135.00                   135.00




                                                                                                      Total:             13,252.50                 13,353.00
 Sheet       1     of     1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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   In re          David Lorenzo Wright,                                                                                           Case No.
                  Julie Ann Wright
                                                                                                                     ,
                                                                                                     Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT       UNSECURED
            INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                        I    Q   U                     PORTION, IF
                                                                T   J             DESCRIPTION AND VALUE                       N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                             G    I   E       VALUE OF         ANY
             (See instructions above.)
                                                                    C                  OF PROPERTY
                                                                R
                                                                                      SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. 4862R                                                       8/9/08                                                     E
                                                                                                                                   D

Midwest Car Credit                                                      motor vehicle lien
2303 N Locust ST
Sterling, IL 61081                                                      '99 Mazda 626 ES subject to lien
                                                                    J

                                                                         Value $                               4,025.00                         4,650.00               625.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                           Subtotal
 0
_____ continuation sheets attached                                                                                                              4,650.00               625.00
                                                                                                                  (Total of this page)
                                                                                                                             Total              4,650.00               625.00
                                                                                                   (Report on Summary of Schedules)

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  In re          David Lorenzo Wright,                                                                                    Case No.
                 Julie Ann Wright
                                                                                                              ,
                                                                                           Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                2   continuation sheets attached
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 B6E (Official Form 6E) (12/07) - Cont.




   In re          David Lorenzo Wright,                                                                                         Case No.
                  Julie Ann Wright
                                                                                                                   ,
                                                                                                     Debtors
                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)


                                                                                                                            Domestic Support Obligations
                                                                                                                                         TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                   O                                                           O    N   I                      AMOUNT NOT
                                                                D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                            OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                       N    U   T                                AMOUNT
                                                                O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                       E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
Account No. 7029289399                                                  12/5/01                                                  E
                                                                                                                                 D

Ohio CSEA                                                             monthly child support of 25.00/wk. for
709 N Garland AVE                                                     daughter, b.d. 10/5/88, the custodial                                                 Unknown
Pob 119                                                               parent is Cynthia Lou (Wright) Salva,
                                                                    J 470 Southard DR; Youngstown OH
Youngstown, OH 44501-0119
                                                                      44515
                                                                                                                                               18,000.00            Unknown
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    2
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)           18,000.00                    0.00




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 B6E (Official Form 6E) (12/07) - Cont.




   In re          David Lorenzo Wright,                                                                                          Case No.
                  Julie Ann Wright
                                                                                                                    ,
                                                                                                     Debtors
                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H           DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                              AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No. SSN...0750                                                  2005                                                      E
                                                                                                                                  D

IL DEPT of Revenue Bankruptcy SEC                                       tax
P. O. Box 64338                                                                                                                                              0.00
Chicago, IL 60664-0338
                                                                    J

                                                                                                                                                 1,473.76              1,473.76
Account No. SSN                                                         2005

Internal Revenue Service                                                approximate past due delinquent taxes
P. O. Box 21126                                                         thru 7/23/09                                                                         688.03
Philadelphia, PA 19114
                                                                    J

                                                                                                                                                 7,688.03              7,000.00
Account No. SSN                                                         1999

Ohio DEPT of Taxation                                                   unpaid taxes
30 E Broad ST                                                                                                                                                0.00
Columbus, OH 43215
                                                                    H

                                                                                                                                                 1,275.00              1,275.00
Account No.




Account No.




       2
Sheet _____    2
            of _____  continuation sheets attached to                                                                     Subtotal                           688.03
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)           10,436.79              9,748.76
                                                                                                                             Total                           688.03
                                                                                                   (Report on Summary of Schedules)             28,436.79              9,748.76

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 B6F (Official Form 6F) (12/07)


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   In re          David Lorenzo Wright,                                                                                       Case No.
                  Julie Ann Wright
                                                                                                                          ,
                                                                                                        Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. 10601487                                                                     Opened 9/01/03 Last Active 2/01/06                  T   T
                                                                                                                                                 E
                                                                                         Collection 10 First Energy Ohio Edison                  D

Allianceone
1684 Woodlands Dr                                                                    H
Maumee, OH 43537

                                                                                                                                                                            64.00
Account No. 303194                                                                       9/2000
                                                                                         unsecured balance for auto loan
Approved Acceptance Corporation
2075 W State ST                                                                      H
Alliance, OH 44601-3524

                                                                                                                                                                        6,188.00
Account No. 8527181593                                                                   past due
                                                                                         Credit card purchases assigned to MCM for
Aspire                                                                                   collection
P. O. Box 105374                                                                     J
Atlanta, GA 30348-5374

                                                                                                                                                                          928.37
Account No. 22480283                                                                     Opened 2/17/05 Last Active 12/01/06
                                                                                         FactoringCompanyAccount Sprint Pcs
Asset Acceptance
Po Box 2036                                                                          H
Warren, MI 48090-2036

                                                                                                                                                                          488.00

                                                                                                                                           Subtotal
 5
_____ continuation sheets attached                                                                                                                                      7,668.37
                                                                                                                                 (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          David Lorenzo Wright,                                                                                       Case No.
                  Julie Ann Wright
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 30995520                                                                     thru 1/24/07                                            E
                                                                                         First Energy-Ohio Edison #110016839760                  D

Asset Acceptance Corp.
Pob 2036                                                                             H
Warren, MI 48090-2036

                                                                                                                                                                         73.42
Account No. ...426                                                                       9/98
                                                                                         collection agency reduced to judgment in
Asset Acceptance Corp.                                                                   2007 LM 39
Pob 2036                                                                             H
Warren, MI 48090-2036

                                                                                                                                                                     9,130.00
Account No. 4470900750002945                                                             Opened 10/11/96 Last Active 5/04/01
                                                                                         CreditCard
Bankcard Services
Po Box 1111                                                                          H
Madison, WI 53701

                                                                                                                                                                           0.00
Account No. 71504                                                                        1/4/08
                                                                                         past due health care
Cardiovascular Medicine PC
Pob 428                                                                              J
Davenport, IA 52805-0428

                                                                                                                                                                       271.00
Account No. 3LO                                                                          9/00
                                                                                         trade debt
CNAC/OH
2075 W. State ST                                                                     H
Alliance, OH 44601

                                                                                                                                                                   18,749.00

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                   28,223.42
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          David Lorenzo Wright,                                                                                       Case No.
                  Julie Ann Wright
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 4106360020770767                                                             Opened 4/03/06 Last Active 10/30/06                     E
                                                                                         CreditCard                                              D

Columbus Bank & Trust
Po Box 105555                                                                        H
Atlanta, GA 30348

                                                                                                                                                                       423.00
Account No. 1342089214                                                                   Opened 10/06/06 Last Active 1/01/07
                                                                                         Collection Mediacom
Credit Protect Assoc
1355 Noel Rd Suite 2100                                                              H
Dallas, TX 75240

                                                                                                                                                                       300.00
Account No. D301239N1                                                                    Opened 11/29/04 Last Active 6/01/06
                                                                                         FactoringCompanyAccount Cnac
Dunstone Financial
11801 W Tatum Blvd Ste 2                                                             H
Phoenix, AZ 85028

                                                                                                                                                                     6,188.00
Account No. xx1810                                                                     5/98
                                                                                       ex-wife, Cynthia Lou Salva's, credit card
First Consumer National Bank                                                           purchases that she incurred during the
Newport Pre                                                                          H marriage and discharged in Ch. 7
9300 SW Gemini
Beaverton, OR 97008-7120
                                                                                                                                                                       751.00
Account No. 116602                                                                       Opened 10/27/93
                                                                                         ChargeAccount
Gemb/jcp
Po Box 984100                                                                        H
El Paso, TX 79998

                                                                                                                                                                    Unknown

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                     7,662.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          David Lorenzo Wright,                                                                                       Case No.
                  Julie Ann Wright
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 8519330882                                                                   Opened 7/21/06                                          E
                                                                                         FactoringCompanyAccount Mci                             D

Midland Credit Mgmt                                                                      Communications Services
8875 Aero Dr                                                                         J
San Diego, CA 92123

                                                                                                                                                                       177.00
Account No. xxxxx9550                                                                  11/98
                                                                                       ex-wife, Cynthia Lou Salva's credit card
Midnight Velvet                                                                        purchased incurred during the marriage that
1112 7th AVE                                                                         H she discharged in Ch. 7
Pob 2816
Plain, WI 53577-1364
                                                                                                                                                                       134.00
Account No. xxxxxx1001                                                                   6/95
                                                                                         ex-wife's credit card purchases
National City Northeast Visa
1 Cascade Plaza                                                                      H
Akron, OH 44306-1136

                                                                                                                                                                     5,992.00
Account No. 2719598                                                                      Opened 10/25/01 Last Active 11/01/01
                                                                                         Collection Litton & Giddings Rad Assoc.
Nco Fin/55
Po Box 13570                                                                         H
Philadelphia, PA 19101

                                                                                                                                                                         63.00
Account No. 579876463                                                                    Opened 11/14/01 Last Active 1/01/07
                                                                                         Collection 10 East Ohio Gas
Nco Financial Systems
Pob 41466                                                                            H
Philadelphia, PA 19101

                                                                                                                                                                       598.00

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                     6,964.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          David Lorenzo Wright,                                                                                       Case No.
                  Julie Ann Wright
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 56080859772                                                                  Opened 4/01/04                                          E
                                                                                         public utiltiies                                        D

Nicor Gas
1844 Ferry Road                                                                      H
Naperville, IL 60563

                                                                                                                                                                     1,300.00
Account No. 92801357                                                                     Opened 2/09/04 Last Active 1/01/07
                                                                                         Collection Centurytel
Omnium Worldwide, Inc
7171 Mercy Rd                                                                        W
Omaha, NE 68106

                                                                                                                                                                       346.00
Account No. T12861                                                                       Opened 8/31/05 Last Active 1/11/07
                                                                                         Collection Fhn-Memorial Hospital
Rockford Mercantile
2502 S Alpine Rd                                                                     H
Rockford, IL 61108

                                                                                                                                                                     3,250.10
Account No. T36129                                                                       Opened 10/31/05 Last Active 12/01/05
                                                                                         Collection Fhn
Rockford Mercantile
2502 S Alpine Rd                                                                     H
Rockford, IL 61108

                                                                                                                                                                     1,426.00
Account No. W66616                                                                       Opened 11/02/06 Last Active 12/01/06
                                                                                         Collection Fhn
Rockford Mercantile
2502 S Alpine Rd                                                                     H
Rockford, IL 61108

                                                                                                                                                                       441.00

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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                     6,763.10
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          David Lorenzo Wright,                                                                                             Case No.
                  Julie Ann Wright
                                                                                                                           ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 2009SC747ST                                                                  alias summons issued 7/9/09                                    E
                                                                                         professional debt collector for CGH Medical                    D

RRCA Accounts MANAGE INC                                                                 Center & Sterling Rock Falls Clinic
201 East Third ST                                                                    J
Sterling, IL 61081

                                                                                                                                                                            2,069.83
Account No. 3L03194                                                                      Opened 9/28/00 Last Active 8/28/01
                                                                                         Automobile
Sign & Drive Auto Sale
2075 W State St                                                                      H
Alliance, OH 44601

                                                                                                                                                                            6,188.00
Account No. 4003467777778333                                                             Opened 8/04/04
                                                                                         CreditCard
Tib
Po Box 560528                                                                        J
Dallas, TX 75356

                                                                                                                                                                                  0.00
Account No. xx1246                                                                       7/00
                                                                                         ex-wife's utility bill
United Claim and Adjustment Bureau
5500 Market ST STE 107 A                                                             H
Youngstown, OH 44512-2616

                                                                                                                                                                                99.00
Account No.




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Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                            8,356.83
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                65,637.72


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  In re             David Lorenzo Wright,                                                                        Case No.
                    Julie Ann Wright
                                                                                                      ,
                                                                                      Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                       Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                            State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                  State contract number of any government contract.

                     Don Hart                                                            written lease for house at 221 W Locust ST;
                     Landlord                                                            Lanark, IL 61056 since '04 for $450.00/mo. +
                     Lanark, IL 61046                                                    $400.00 security deposit

                     Rent A Center                                                       rent to own washer contract commencing winter
                     K Mart Plaza                                                        of '06 $40.00/mo.
                     2805 E Lincolnway
                     Sterling, IL 61081




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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  In re          David Lorenzo Wright,                                                                   Case No.
                 Julie Ann Wright
                                                                                                 ,
                                                                                      Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR




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               continuation sheets attached to Schedule of Codebtors
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           David Lorenzo Wright
 In re     Julie Ann Wright                                                                            Case No.
                                                                        Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                 DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                None.

Employment:                                          DEBTOR                                                    SPOUSE
Occupation                          F.T. mechanic @ $12.02                                  FT workshop supervisor @ $8.50/h
Name of Employer                    Dura Automotive Systems INC                             Rolling Hills Progress CTR
How long employed                   since 1/15/07                                           since 8/04
Address of Employer                 2791 Research DR                                        201 IL RTE 64
                                    Rochester, MI 48309                                     Pob 85
                                                                                            Lanark, IL 61046-0085
INCOME: (Estimate of average or projected monthly income at time case filed)                                DEBTOR           SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                         $       2,083.47  $      1,321.97
2. Estimate monthly overtime                                                                          $          32.77  $          0.00

3. SUBTOTAL                                                                                              $        2,116.24      $         1,321.97

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $         200.33       $          188.96
     b. Insurance                                                                                        $         174.00       $            0.00
     c. Union dues                                                                                       $          10.00       $            0.00
     d. Other (Specify):       child support @ $25.26/wk                                                 $         109.46       $            0.00
                                                                                                         $           0.00       $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         493.79       $          188.96

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $        1,622.45      $         1,133.01

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $           0.00       $              0.00
8. Income from real property                                                                             $           0.00       $              0.00
9. Interest and dividends                                                                                $           0.00       $              0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $           0.00       $              0.00
11. Social security or government assistance
(Specify):                                                                                               $           0.00       $              0.00
                                                                                                         $           0.00       $              0.00
12. Pension or retirement income                                                                         $           0.00       $              0.00
13. Other monthly income
(Specify):                                                                                               $           0.00       $              0.00
                                                                                                         $           0.00       $              0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $           0.00       $              0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $        1,622.45      $         1,133.01

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                    $              2,755.46
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         debtor expects a $1.00/hr. pay raise upon six month anniversary
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          David Lorenzo Wright
 In re    Julie Ann Wright                                                                  Case No.
                                                                 Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
    Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time
case filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                      $                  450.00
 a. Are real estate taxes included?                           Yes               No X
 b. Is property insurance included?                           Yes               No X
2. Utilities:      a. Electricity and heating fuel                                                         $                  200.00
                   b. Water and sewer                                                                      $                    0.00
                   c. Telephone                                                                            $                  105.00
                   d. Other satellite TV                                                                   $                   45.00
3. Home maintenance (repairs and upkeep)                                                                   $                    0.00
4. Food                                                                                                    $                  400.00
5. Clothing                                                                                                $                   50.00
6. Laundry and dry cleaning                                                                                $                  100.00
7. Medical and dental expenses                                                                             $                  185.00
8. Transportation (not including car payments)                                                             $                  400.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                  100.00
10. Charitable contributions                                                                               $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                              $                     0.00
                   b. Life                                                                                 $                     0.00
                   c. Health                                                                               $                     0.00
                   d. Auto                                                                                 $                    83.00
                   e. Other                                                                                $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                (Specify)                                                                                  $                      0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                 $                  300.00
                   b. Other                                                                                $                    0.00
                   c. Other                                                                                $                    0.00
14. Alimony, maintenance, and support paid to others                                                       $                  427.00
15. Payments for support of additional dependents not living at your home                                  $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)           $                    0.00
17. Other See Detailed Expense Attachment                                                                  $                  150.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules                        $                2,995.00
and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                       $                2,755.46
b. Average monthly expenses from Line 18 above                                                             $                2,995.00
c. Monthly net income (a. minus b.)                                                                        $                 -239.54
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          David Lorenzo Wright
 In re    Julie Ann Wright                                                Case No.
                                                        Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                            Detailed Expense Attachment




Other Expenditures:
work expenses, small tools, snacks & caffiene                                        $             20.00
toiletries, disposables, consumables, & upkeeps                                      $            100.00
school expenses                                                                      $             30.00
Total Other Expenditures                                                             $            150.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                                   United States Bankruptcy Court
                                                                            Northern District of Illinois
             David Lorenzo Wright
  In re      Julie Ann Wright                                                                                       Case No.
                                                                                             Debtor(s)              Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                 24      sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date August 27, 2009                                                           Signature    /s/ David Lorenzo Wright
                                                                                             David Lorenzo Wright
                                                                                             Debtor


 Date August 27, 2009                                                           Signature    /s/ Julie Ann Wright
                                                                                             Julie Ann Wright
                                                                                             Joint Debtor

   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                    18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                   United States Bankruptcy Court
                                                                            Northern District of Illinois
             David Lorenzo Wright
  In re      Julie Ann Wright                                                                                     Case No.
                                                                                              Debtor(s)           Chapter    7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the
answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the
question.


                                                                                             DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is
"in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any
of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be
"in business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor.
11 U.S.C. § 101.

                                                                __________________________________________

                1. Income from employment or operation of business
    None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE
                           $5,293.58                                 2009 YTD: Husband Dura Automotive Systems INC thru 8/14/09
                           $9,762.26                                 2009 YTD: Wife Rolling Hills Progress CTR thru 8/7/09
                           $21,730.97                                2008: Debtor Dura Automotive Systems INC
                           $18,913.05                                2008: Joint Dbt Rolling Hills Progress CTR
                           $24,295.31                                2007: Husband Dura Automotive Systems INC approx. wages
                           $15,556.31                                2007: Joint Dbt Rolling Hills Progress CTR approx. wages




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                2. Income other than from employment or operation of business
    None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                    SOURCE
                           $5,772.00                                 2009: Husband Unemployment @ $222.00/wk. thru 7/20/09

                3. Payments to creditors
    None        Complete a. or b., as appropriate, and c.

                a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or
                services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
                aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that
                were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
                approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include
                payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                     AMOUNT PAID             OWING
 Don Hart                                                                          monthly rent payments of       $1,500.00              $500.00
 Landlord                                                                          $500.00/mo
 Lanark, IL 61046
 *Ohio Child Support Central                                                       weekly child support of          $325.00             $18,000.00
 Pob 182372                                                                        $25.00/wk.
 Columbus, OH 43218-2372
 Lifetime Auto                                                                     monthly car payments of          $900.00               $4,600.00
                                                                                   $300.00
 *Internal Revenue Service                                                         2005 taxes IRS                   $290.04               $7,800.00
 Kansas City, MO                                                                   garnishment varies $290.04
                                                                                   since it started

    None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
                immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
                both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                   AMOUNT
                                                                                   DATES OF                         PAID OR
                                                                                   PAYMENTS/                      VALUE OF            AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                     TRANSFERS              OWING

    None        c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit
                of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT              AMOUNT PAID             OWING




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                4. Suits and administrative proceedings, executions, garnishments and attachments
    None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing
                of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY                  STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                     DISPOSITION
 Asset Acceptance LLC v                          civil collection                            15th Judicial Circuit, Carroll   10/15/07 1st return on
 debtor Case No. 2007 LM 39                                                                  County, Illinois                 summons issued 9/10/07
                                                                                                                              prosecuted by Freedman
                                                                                                                              Anselmo Lindberg & Rappe
                                                                                                                              LLC: PO Box 3228; Naperville
                                                                                                                              IL 60566-7228
 RRCA Accounts                                   civil                                       14th Judicial Circuit, Sterling, alias summons issued 7/2/09
 Management, Inc v debtor                                                                    Whiteside County, Illinois
 Case No. 2009SC747ST

    None        b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                     DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                  PROPERTY

                5. Repossessions, foreclosures and returns
    None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
                returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                the spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,              DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                      PROPERTY

                6. Assignments and receiverships
    None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
                this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not
                a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                          TERMS OF ASSIGNMENT OR SETTLEMENT

    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                             DATE OF          DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                       ORDER                  PROPERTY




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                7. Gifts
    None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
                and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT        VALUE OF GIFT

                8. Losses
    None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
                since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS            DATE OF LOSS

                9. Payments related to debt counseling or bankruptcy
    None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
                concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year
                immediately preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                          AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                   OR DESCRIPTION AND VALUE
     OF PAYEE                                                                            THAN DEBTOR                              OF PROPERTY
 Conrad Knuth                                                                     2/3/07                                  $100.00
 Po Box 406
 Ohio, IL 61349-0406
 Conrad Knuth                                                                     10/11/07                                $200.00
 Po Box 406
 Ohio, IL 61349-0406
 Conrad Knuth                                                                     8/21/09                                 $499.00
 P.O. Box 406
 Ohio, IL 61349-0406

                10. Other transfers
    None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
                transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
      RELATIONSHIP TO DEBTOR                                                    DATE                            AND VALUE RECEIVED
 Some high school kids                                                          1/07                    '93 inoperable, wrecked '93 p.u. truck
 Lanark, IL
   none
 Jonathon Kennedy                                                               9/29/07                 debtors purchased '88 Oldsmobile Century 4
 Lanark, IL                                                                                             door sedan displaying 140,000 mi. for $300.00
   none                                                                                                 on 9/29/07 and debtor's junked it a couple of
                                                                                                        months later




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    None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
                trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

                11. Closed financial accounts
    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
                otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
                must include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is
                filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                 OR CLOSING

                12. Safe deposit boxes
    None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS               SURRENDER, IF ANY

                13. Setoffs
    None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF

                14. Property held for another person
    None        List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                       LOCATION OF PROPERTY

                15. Prior address of debtor
    None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
                occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                address of either spouse.

 ADDRESS                                                                          NAME USED                             DATES OF OCCUPANCY

                16. Spouses and Former Spouses
    None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
                Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding
                the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the
                debtor in the community property state.

 NAME


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                17. Environmental Information.

                For the purpose of this question, the following definitions apply:

                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
                to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
                liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and,
                if known, the Environmental Law:

                                                              NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                       LAW

    None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                 DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                   NOTICE                       LAW

    None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

                18 . Nature, location and name of business
    None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning
                and ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation,
                partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within
                six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
                equity securities within six years immediately preceding the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within
                six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within
                six years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                    BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                NATURE OF BUSINESS      ENDING DATES
 David L. Wright                     XXX XX 0750                           221 W Locust ST        debtor was semi tractor 4/05 to 2/06
 Trucking                                                                  Lanark, IL 61046       lease operator for CRST
                                                                                                  Van Expedited INC; Pob
                                                                                                  68, Cedar Rapids IA
                                                                                                  52406




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                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                            BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                   NATURE OF BUSINESS           ENDING DATES
 David L. Wright                     XXX XX 0750                           221 W Locust              debtor was semi tractor      2/06 to 12/06
                                                                           Lanark, IL 61046          truck lease operator for
                                                                                                     Butler Transport INC;
                                                                                                     347 N. James ST;
                                                                                                     Kansas City KS 66118

    None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                19. Books, records and financial statements
    None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
                supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED
 American Truck Business Services                                                                           2005 to Spring, 2006
 555 Zang ST STE 400
 Denver, CO 80228-1010
 Debtor


    None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
                books of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                              DATES SERVICES RENDERED

    None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and
                records of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                         ADDRESS
 American Truck Business Services                                                             555 Zang ST. STE 400
                                                                                              Denver, CO 80228-1010
 Debtor


    None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement
                was issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                   DATE ISSUED




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                20. Inventories
    None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
                and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None        b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Officers, Directors and Shareholders
    None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
                controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

                22 . Former partners, officers, directors and shareholders
    None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
                commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
                immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

                23 . Withdrawals from a partnership or distributions by a corporation
    None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
                compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately
                preceding the commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

                24. Tax Consolidation Group.
    None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
                group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

                25. Pension Funds.
    None        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as
                an employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


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                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date August 27, 2009                                                           Signature    /s/ David Lorenzo Wright
                                                                                             David Lorenzo Wright
                                                                                             Debtor


 Date August 27, 2009                                                           Signature    /s/ Julie Ann Wright
                                                                                             Julie Ann Wright
                                                                                             Joint Debtor

                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                           Northern District of Illinois
             David Lorenzo Wright
  In re      Julie Ann Wright                                                                                       Case No.
                                                                                           Debtor(s)                Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Midwest Car Credit                                                                         '99 Mazda 626 ES subject to lien

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                   Describe Leased Property:                       Lease will be Assumed pursuant to 11
 -NONE-                                                                                                           U.S.C. § 365(p)(2):
                                                                                                                     YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date August 27, 2009                                                          Signature   /s/ David Lorenzo Wright
                                                                                           David Lorenzo Wright
                                                                                           Debtor


 Date August 27, 2009                                                          Signature   /s/ Julie Ann Wright
                                                                                           Julie Ann Wright
                                                                                           Joint Debtor




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                                                                           Northern District of Illinois
              David Lorenzo Wright
  In re       Julie Ann Wright                                                                                        Case No.
                                                                                            Debtor(s)                 Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $                  500.00
              Prior to the filing of this statement I have received                                               $                  500.00
              Balance Due                                                                                         $                    0.00

2.     $     299.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                   Other (specify):

4.     The source of compensation to be paid to me is:
                   Debtor                   Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

             I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions
               or any other adversary proceeding.
                                                                                       CERTIFICATION

      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       August 27, 2009                                                               /s/ Conrad Knuth
                                                                                            Conrad Knuth
                                                                                            Conrad Knuth
                                                                                            P.O. Box 406
                                                                                            Ohio, IL 61349-0406
                                                                                            (815) 376 4082




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                                                          UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF ILLINOIS

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE

          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

         In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some
cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the
court to decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does,
the purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or
from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
             administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in

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installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in
the Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured
obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises
primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Conrad Knuth                                                                              X /s/ Conrad Knuth                       August 27, 2009
Printed Name of Attorney                                                                     Signature of Attorney                  Date
Address:
P.O. Box 406
Ohio, IL 61349-0406
(815) 376 4082


                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 David Lorenzo Wright
 Julie Ann Wright                                                                          X /s/ David Lorenzo Wright               August 27, 2009
 Printed Name(s) of Debtor(s)                                                                Signature of Debtor                    Date

 Case No. (if known)                                                                       X /s/ Julie Ann Wright                   August 27, 2009
                                                                                             Signature of Joint Debtor (if any)     Date




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             David Lorenzo Wright
  In re      Julie Ann Wright                                                                                      Case No.
                                                                                             Debtor(s)             Chapter    7




                                                         VERIFICATION OF CREDITOR MATRIX

                                                                                                   Number of Creditors:                                  44




             The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
             (our) knowledge.




 Date: August 27, 2009                                                          /s/ David Lorenzo Wright
                                                                                David Lorenzo Wright
                                                                                Signature of Debtor

 Date: August 27, 2009                                                          /s/ Julie Ann Wright
                                                                                Julie Ann Wright
                                                                                Signature of Debtor




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                      Allianceone
                      1684 Woodlands Dr
                      Maumee, OH 43537


                      Approved Acceptance Corporation
                      2075 W State ST
                      Alliance, OH 44601-3524


                      Aspire
                      P. O. Box 105374
                      Atlanta, GA 30348-5374


                      Asset Acceptance
                      Po Box 2036
                      Warren, MI 48090-2036


                      Asset Acceptance Corp.
                      Pob 2036
                      Warren, MI 48090-2036


                      Bankcard Services
                      Po Box 1111
                      Madison, WI 53701


                      Cardiovascular Medicine PC
                      Pob 428
                      Davenport, IA 52805-0428


                      CGH Medical CTR
                      100 E Lefevre RD
                      Sterling, IL 61081-1279


                      CNAC/OH
                      2075 W. State ST
                      Alliance, OH 44601


                      Columbus Bank & Trust
                      Po Box 105555
                      Atlanta, GA 30348


                      Credit Protect Assoc
                      1355 Noel Rd Suite 2100
                      Dallas, TX 75240
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                  Dunstone Financial
                  11801 W Tatum Blvd Ste 2
                  Phoenix, AZ 85028


                  Dura Automotive systems INC
                  2791 Research DR
                  Rochester, MI 48309


                  First Consumer National Bank
                  Newport Pre
                  9300 SW Gemini
                  Beaverton, OR 97008-7120


                  Freedman Anselmo Lindberg & Rappe L
                  1807 W Diehl RD STE 333
                  P. O. Box 3228
                  Naperville, IL 60566-7228


                  Gemb/jcp
                  Po Box 984100
                  El Paso, TX 79998


                  IL DEPT of Revenue Bankruptcy SEC
                  P. O. Box 64338
                  Chicago, IL 60664-0338


                  Internal Revenue Service
                  P. O. Box 21126
                  Philadelphia, PA 19114


                  Linebarger Goggan Blair & Sampson,
                  P. O. Box 06140
                  Chicago, IL 60606-0410


                  Mellott, Michael
                  301 E 3rd ST
                  Sterling, IL 61081


                  Midland Credit
                  8875 Aero DR STE 2
                  San Diego, CA 92123


                  Midland Credit
                  DEPT 8870
                  Los Angeles, CA 90084-8870
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                  Midland Credit Mgmt
                  8875 Aero Dr
                  San Diego, CA 92123


                  Midnight Velvet
                  1112 7th AVE
                  Pob 2816
                  Plain, WI 53577-1364


                  Midwest Car Credit
                  2303 N Locust ST
                  Sterling, IL 61081


                  National City Northeast Visa
                  1 Cascade Plaza
                  Akron, OH 44306-1136


                  Nco Fin/55
                  Po Box 13570
                  Philadelphia, PA 19101


                  Nco Financial Systems
                  Pob 41466
                  Philadelphia, PA 19101


                  NewPort News
                  101 Crossway Park West
                  Woodbury, NY 11797


                  Nicor
                  Bankruptcy/Collection
                  P. O. Box 549
                  Aurora, IL 60507-0549


                  Nicor Gas
                  1844 Ferry Road
                  Naperville, IL 60563


                  Office of Carroll Cty. Circuit Cler
                  Case No. 2007LM39
                  301 N Main ST
                  Mount Carroll, IL 61053
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                  Ohio CSEA
                  709 N Garland AVE
                  Pob 119
                  Youngstown, OH 44501-0119


                  Ohio DEPT of Taxation
                  30 E Broad ST
                  Columbus, OH 43215


                  Ohio Edison
                  280 N Park AVE
                  Warren, OH 44482


                  Ohio Edison
                  Pob 3637
                  Akron, OH 44309-3637


                  Omnium Worldwide, Inc
                  7171 Mercy Rd
                  Omaha, NE 68106


                  Rockford Mercantile
                  2502 S Alpine Rd
                  Rockford, IL 61108


                  RRCA Accounts MANAGE INC
                  201 East Third ST
                  Sterling, IL 61081


                  Sign & Drive Auto Sale
                  2075 W State St
                  Alliance, OH 44601


                  Sterling Rock Falls Clinic LTD
                  101 E Miller RD
                  Sterling, IL 61081-1294


                  Tib
                  Po Box 560528
                  Dallas, TX 75356


                  United Claim and Adjustment Bureau
                  5500 Market ST STE 107 A
                  Youngstown, OH 44512-2616
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                  Whiteside County Circuit Clerk
                  Case No. 2009SC747ST
                  101 E 3rd ST
                  Sterling, IL 61081
